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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

CVS HUTTO LLC,                             )
                                           )
                   Plaintiff,              )
                                           )                          CIVIL ACTION
v.                                         )
                                           )                          No. 22-2165-KHV
DANIEL LOWE; LEGACY HUTTO, LLC,            )
LEGACY VENTURE WEST II, LLC,               )
VENTURE WEST II, LC,                       )
VENTURE WEST DEVELOPMENT, LLC,             )
VENTURE WEST III DEVELOPMENT, L.L.C., )
VENTURE WEST DEVELOPMENT III, LLC, )
RICHARD B. KATZ,                           )
SANDBERG PHOENIX VON GONTARD, P.C., )
THE KATZ LAW FIRM, L.C.,                   )
                                           )
                   Defendants.             )
___________________________________________)

                                MEMORANDUM AND ORDER

        This matter is before the Court on plaintiff’s Application For Clerk’s Entry Of Default

 Judgment On Counts I, II, V, VI, VII, VIII And IX (Doc. #13) filed June 21, 2022, which the Court

 construes as a motion for entry of default. For reasons stated below, the Court sustains plaintiff’s

 motion and directs the Clerk to enter default under Rule 55(a), Fed. R. Civ. P.

        Rule 55, Fed. R. Civ. P., which governs default judgments in federal court, provides a two-

 step process to obtain a default judgment. Williams v. Smithson, 57 F.3d 1081 (Table), 1995 WL

 365988, at *1 (10th Cir. June 20, 1995). First, the moving party must ask the clerk to enter default

 against the opposing party for failing to timely plead or otherwise defend. Fed. R. Civ. P. 55(a).

 Second, after the clerk enters default, a plaintiff may apply for default judgment. Fed. R. Civ.

 P. 55(b). Neither the Clerk nor the Court has entered default against defendants. Because plaintiff

 cannot proceed directly to default judgment, the Court construes its motion as one for entry of
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default.

       On May 14, 2022, plaintiff effected service on seven of the defendants in this action: Daniel

Lowe, Legacy Hutto, LLC, Legacy Venture West II, LLC, Venture West II, LC, Venture West

Development, LLC, Venture West III Development, L.L.C., and Venture West Development III,

LLC. Under Rule 12(a)(1)(A)(i), Fed. R. Civ. P., defendants had 21 days, or until June 6, 2022,

to file an answer or otherwise respond to plaintiff’s claims. Defendants have not done so. Because

defendants have failed to plead or otherwise defend, plaintiff is entitled to an entry of default under

Rule 55(a).

       IT IS THEREFORE ORDERED that plaintiff’s Application For Clerk’s Entry Of

Default Judgment (Doc. #13) filed June 21, 2022, which the Court construes as a motion for entry

of default, is SUSTAINED. The Court directs the Clerk to enter default against defendants

Daniel Lowe, Legacy Hutto, LLC, Legacy Venture West II, LLC, Venture West II, LC,

Venture West Development, LLC, Venture West III Development, L.L.C., and Venture West

Development III, LLC. Plaintiff’s motion is otherwise overruled.

       Dated this 26th day of July, 2022 at Kansas City, Kansas.

                                               s/ Kathryn H. Vratil
                                               KATHRYN H. VRATIL
                                               United States District Judge




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